                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

 UNITED STATES OF AMERICA                        )
                                                 )        Case No. 4:21-cr-02-04
 v.                                              )
                                                 )        Judge Travis R. McDonough
                                                 )
 JEFFREY P. KYER                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count One of the

 three-count Indictment; (2) accept Defendant’s guilty plea to the lesser included offense of the

 charge in Count One of the Indictment, that is, conspiracy to distribute methamphetamine in

 violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(C); (3) adjudicate Defendant guilty of the

 lesser included offense of the charge in Count One of the Indictment, that is, conspiracy to

 distribute methamphetamine in violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(C); (4)

 defer a decision on whether to accept the plea agreement [Doc. ] until sentencing; and

 (5) Defendant release on bond was revoked and Defendant shall remain in custody until

 sentencing in this matter (Doc. 85). Neither party filed a timely objection to the report and

 recommendation. After reviewing the record, the Court agrees with Magistrate Judge Lee’s

 report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

 judge’s report and recommendation (Doc. 85) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:




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    1. Defendant’s motion to withdraw his not guilty plea to Count One of the three-count

       Indictment is GRANTED;

    2. Defendant’s plea of guilty to the lesser included offense of the charge in Count One of

       the Indictment, that is, conspiracy to distribute methamphetamine in violation of 21

       U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(C) is ACCEPTED;

    3. Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge in

       Count One of the Indictment, that is, conspiracy to distribute methamphetamine in

       violation of 21 U.S.C. §§ 846, 841(a)(1) and 841(b)(1)(C);

    4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

    5. Defendant SHALL REMAIN in custody until sentencing in this matter which is

       scheduled to take place on March 25, 2022 at 9:00 a.m. [EASTERN] before the

       undersigned.

    SO ORDERED.


                                             /s/Travis R. McDonough
                                             TRAVIS R. MCDONOUGH
                                             UNITED STATES DISTRICT JUDGE




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